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 7
                              UNITED STATES BANKRUPTCY COURT
 8                            EASTERN DISTRICT OF WASHINGTON
 9
       In re:                                              Case No. 24-01421-FPC11
10
       IDEAL PROPERTY INVESTMENTS
11     LLC,                                                THE UNSECURED CREDITORS
12                                       Debtor.           COMMITTEE’S JOINDER IN
                                                           OBJECTIONS TO DEBTOR’S
13                                                         MOTION TO APPROVE SALE
                                                           OF REAL PROPERTY
14                                                         (ESCONDIDO)

15
                The Unsecured Creditors Committee (“Committee”) in the above captioned
16
       bankruptcy case respectfully submits the following response to the Debtor’s Motion to
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       Approve Sale of Real Property (Escondido). The Committee hereby joins in the
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       Pacific Parties’ Limited Objection to the Debtor’s Motion (the “Pacific Parties’
19
       Objection”), and 352 Capital Fund ABS Master Fund LP’s Joinder in the Pacific
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       Parties’ Objection.
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                To avoid repetition and to maximize the efficient use of the Court’s time, the
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       Committee’s position is captured in the enumerated points that follow:
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                   1. The Committee has no objection to moving forward with and closing the
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                      sale of the Escondido property as proposed by the estate.
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                   2. The Committee has no objection to the estate having access to the sales
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 1
                    proceeds from the Escondido property to fund insurance and other
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                    expenses essential to preserving the value of the estate for all creditors or
 3
                    otherwise administering this case.
 4
                 3. The Committee does, however, object to the distribution of sales
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                    proceeds to any secured party at this time. The evidence submitted into
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                    the record along with the Debtor’s own schedules reflect that the Debtor
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                    is, in fact, the beneficiary of tens of millions of dollars in funds that were
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                    diverted from the affiliated enterprise known as “WaterStation
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                    Technology,” which at the time was under the exclusive management and
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                    control of its founder Ryan Wear—who has since been restrained and
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                    removed through various state and federal judicial processes.
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                 4. While the Committee is reserving final judgment as to the validity and
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                    enforceability of the Socotra and First Fed liens until after it has
14
                    completed a thorough investigation of the matter, the Committee
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                    respectfully submits that the evidence presented thus far more than
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                    indicates that a thorough investigation should be completed before the
17
                    proceeds are distributed to any party.
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                 5. In the meantime, while the Committee conducts this investigation in
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                    tandem with the estate under the Court’s supervision, the funds should be
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                    held subject to the estate’s rights under applicable law to object to or
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                    avoid the subject liens.
22
       //
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       //
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       //
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 1           RESPECTFULLY SUBMITTED October 9, 2024.
 2
                                                     K&L GATES LLP
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 4                                                   By: /s/ John T. Bender
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                                                     Attorneys for the Official Committee of
 8                                                   Unsecured Creditors
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